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17                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
18                                SAN FRANCISCO DIVISION
19
     CARNEGIE MELLON UNIVERSITY,                 )
20                                               )      Case No. 3:18-cv-04571-JD
                      Plaintiff,                 )
21                                               )      PLAINTIFF CARNEGIE MELLON
                         v.                      )      UNIVERSITY’S ADMINISTRATIVE
22                                               )      MOTION FOR LEAVE TO FILE
                                                 )      UNDER SEAL
23   LSI CORPORATION and AVAGO                   )
     TECHNOLOGIES U.S. INC.,                     )
24                                               )
                      Defendants.                )
25                                               )

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 1          Pursuant to Civil L.R. 7-11(a), 79-5(d) and (e), Plaintiff Carnegie Mellon University
 2   (“CMU”) respectfully moves this Court to order the Clerk of the Court to file under seal portions of
 3   the Opposition to Defendants’ Motion to Strike Portions of Plaintiff’s Corrected Reply in Support of
 4   its Motion for Leave to Amend Infringement Contentions or for Leave to File a Sur-Reply
 5   (“Opposition”) as identified in the chart below. The Opposition contains content that CMU believes
 6   in good faith that Defendants have represented to the Court is “non-public, commercially sensitive
 7   and proprietary technical information pertaining to functionalities in [their] products” (Dkt. 114-115)
 8   and/or which they have designated as “Highly Confidential Attorneys’ Eyes Only” under the
 9   Protective Order in this case.
10          The requested relief sought is necessary and narrowly tailored to protect the confidentiality
11   of Defendants’ content at issue in the Opposition, as set forth in the accompanying Declaration of
12   Christopher Verdini.
13          Pursuant to Local Rule 79-5, a proposed order accompanies this request to file under seal.
14          Pursuant to Civil L.R. 79-5(d)(2), a courtesy copy of CMU’s entire filing, including the
15   complete and unredacted versions of the foregoing documents, will be lodged with the Court and
16   served on counsel for Defendants.
17          The following chart identifies which paragraph of the Verdini Declaration specifies the
18   reasons for sealing as required by the Local Rules and the Standing Order for Civil Cases Before
19   Judge James Donato, Paragraph 26(a)-(b).
20   Portion of Document to be Sealed              Reasons for Sealing        Citation
21   CMU’s Opposition to Defendants’ Motion        Civil L.R. 79-5(e);       Verdini Declaration, ¶ 3
     to Strike Portions of Plaintiff’s Corrected   content that Defendants
22   Reply in Support of its Motion for Leave      have designated as
     to Amend Infringement Contentions or for      Highly Confidential
23
     Leave to File a Sur-Reply: redacted           Attorneys Eyes Only
24   portions                                      and/or assert is “non-
                                                   public, commercially
25                                                 sensitive and proprietary
                                                   technical information
26                                                 pertaining to
                                                   functionalities in
27
                                                   Defendants’ products.”
28

                                                       1
     ADMINISTRATIVE MOTION FOR LEAVE TO FILE UNDER SEAL                  CASE NO. 3:18-CV-04571-JD
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 1                                                  Respectfully submitted,
 2   Dated: July 24, 2019                           /s/ Christopher M. Verdini
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20

21                                      CERTIFICATE OF SERVICE

22          The undersigned hereby certifies that on the 24th day of July, 2019, the foregoing document

23   was served on all counsel of record who have consented to electronic service via the Court’s ECF

24   system. Any other counsel of record who have not registered as an ECF user will be served by

25   electronic transmission, facsimile transmission, or first class mail.

26                                                                 /s/ Christopher M. Verdini
                                                                   Christopher M. Verdini
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                                                         2
     ADMINISTRATIVE MOTION FOR LEAVE TO FILE UNDER SEAL                      CASE NO. 3:18-CV-04571-JD
